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                                                           FILED: June 6, 2022


                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT

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                                        No. 21-1697
                                 (1:20-cv-01263-LMB-JFA)
                                   ___________________

JERRY DAVIDSON, individually, and on behalf of all others similarly situated

               Plaintiff - Appellant

v.

UNITED AUTO CREDIT CORPORATION, a California corporation

               Defendant - Appellee

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UNITED STATES OF AMERICA

               Amicus Supporting Appellant

REP. ANDY BARR, (R-KY, 6th Dist.); SENATOR NORM COLEMAN, (R-MN,
2003-2009); REP. BARRY LOUDERMILK, (R-GA, 11th Dist.); REP. JEFF
MILLER, (R-FL, 1st Dist., 2001-2017); REP. PETE SESSIONS, (R-TX, 17th
Dist.); REP. WILLIAM TIMMONS, (R-SC, 4th Dist.); REP. JOE WILSON, (R-
SC, 2nd Dist.); AMERICAN FINANCIAL SERVICES ASSOCIATION;
CONSUMER BANKERS ASSOCIATION; GUARANTEED ASSET
PROTECTION ALLIANCE; NATIONAL AUTOMOBILE DEALERS
ASSOCIATION; CONSUMER CREDIT INDUSTRY ASSOCIATION;
CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA

               Amici Supporting Appellee
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                                 ORDER
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      The court grants the motion to withdraw from further representation on

appeal.

                                    For the Court--By Direction

                                    /s/ Patricia S. Connor, Clerk
